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  The following constitutes the ruling of the court and has the force and effect therein described.



  Signed April 12, 2019
                                             United States Bankruptcy Judge
 ______________________________________________________________________




                                       IN THE UNITED STATES BANKRUPTCY COURT
                                        FOR THE NORTHERN DISTRICT OF TEXAS
                                                 LUBBOCK DIVISION

                   IN RE:                                                     §
                                                                              §
                   REAGOR-DYKES MOTORS, LP, et al.1                           § Case No. 18-50214-rlj-11
                                                                              § Jointly Administered
                                                    Debtor.                   §

                        AGREED ORDER GRANTING AGREED MOTION TO CONTINUE
                         DEBTORS’ MOTION TO ASSUME UNEXPIRED LEASES FROM
                                  NON-RESIDENTIAL REAL PROPERTY

          CAME ON TO BE CONSIDERED by the Court the Agreed Motion for Continuance of Debtors’ Motion to

          Assume Unexpired Leases of Non-Residential Real Property (“Motion to Continue”) filed by Reagor-Dykes

          Motors, LP and its debtor affiliates (“Reagor-Dykes” or the “Debtors”), creditor Patti Sue Noel,

          independent executor of the estate of M.I. “Jack” Morris, Deceased, and Jack Morris Ford Lincoln



                    The other Debtors are Reagor-Dykes Imports, LP (Case No. 18-50215), Reagor-Dykes Amarillo (Case No. 18-
                    1

          50216), Reagor-Dykes Auto Company, LP (Case No. 18-50217), Reagor-Dykes Plainview, LP (Case No. 18-50218), Reagor-
          Dykes Floydada, LP (Case No. 18-50219), Reagor-Dykes III LLC, Reagor-Dykes Snyder, L.P. (Case No. 18-50321), (Case
          No. 18-50322), Reagor-Dykes II LLC (Case No. 18-50323), Reagor Auto Mall Ltd (Case No. 18-50324) and Reagor Auto Mall
          I LLC (Case No. 18-50325).

          AGREED ORDER GRANTING AGREED MOTION TO CONTINUE DEBTORS’ MOTION
          TO ASSUME UNEXPIRED LEASES FROM NON-RESIDENTIAL REAL PROPERTY                                              Page 1
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          Mercury, Inc. (“Patti Sue Noel”), and the Michael & Loree Britt Family Partnership (“Britt Family”).

          It appearing that the Court has jurisdiction over this matter; and it appearing that notice of the Motion

          to Continue as set forth therein is sufficient, and that no other or further notice need be provided; and it

          further appearing that the relief requested in the Motion to Continue is in the best interests of the Debtors

          and their estates and creditors; and upon all of the proceedings had before the Court; and after due

          deliberation and sufficient cause appearing therefor, it is hereby

                   ORDERED that the Motion is GRANTED;

                   It is further ORDERED that:

                   1.     The Motion to Assume Unexpired Leases of Non-Residential Real Property (“Motion to

          Assume”) as it relates to Patti Sue Noel’s lease presently set for April 10, 2019 at 1:30 p.m. is rescheduled

          to April 24, 2019 at 11:00 a.m., prevailing Central Time, before the Honorable Judge Robert L. Jones at

          the United States Bankruptcy Court, Room 314, 1205 Texas Avenue, Lubbock, Texas 79401;

                   2.     The Motion to Assume as it relates to the Britt Family’s lease presently set for April 10,

          2019 at 1:30 p.m. is rescheduled to May 22, 2019 at 1:30 p.m., prevailing Central Time, before the

          Honorable Judge Robert L. Jones at the United States Bankruptcy Court, Room 314, 1205 Texas Avenue,

          Lubbock, Texas 79401;

                   3.     The Court retains jurisdiction to order any other relief necessary as it relates to the relief

          requested in Motion to Continue.

                   IT SO ORDERED.

                                                  ### End of Order ###




          AGREED ORDER GRANTING AGREED MOTION TO CONTINUE DEBTORS’ MOTION
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          APPROVED, STIPULATED, AND AGREED:



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          AGREED ORDER GRANTING AGREED MOTION TO CONTINUE DEBTORS’ MOTION
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